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 8                   UNITED STATES DISTRICT COURT FOR THE
 9                       EASTERN DISTRICT OF CALIFORNIA
10

11   YAPHETTE GEIGER, ET AL.,              PRETRIAL SCHEDULING ORDER

12        Plaintiff(s)

13   v.                                    Case No.: 2:22-cv-00043 JAM DB

14   COUNTY OF SACRAMENTO, ET AL.,
15        Defendant(s)

16

17         After review of the Joint Status Report, the court makes the

18   following order:

19

20                              SERVICE OF PROCESS

21         All parties defendant to this lawsuit have been served and

22   no further service will be permitted except with leave of court,

23   good cause having been shown.

24

25                 JOINDER OF ADDITIONAL PARTIES/AMENDMENTS

26         No further joinder of parties or amendments to pleadings is

27   permitted except with leave of court, good cause having been

28   shown.
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 1                            JURISDICTION AND VENUE
 2        Jurisdiction and venue are not contested.
 3

 4                        FICTITIOUSLY-NAMED DEFENDANTS
 5        This action, including any counterclaims, cross-claims, and
 6   third party complaints is hereby DISMISSED as to all DOE or other
 7   fictitiously-named defendants.
 8

 9                          MOTION HEARINGS SCHEDULES
10        All dispositive motions shall be filed by 11/17/2023.
11   Hearing on such motions shall be on 1/23/2024 at 1:30 PM.
12

13   The parties are reminded of the notice requirements as outlined
14   in Local Rule 230(b).
15

16        The time deadline for dispositive motions does not apply to
17   motions for continuances, temporary restraining orders or other
18   emergency applications.
19        All purely legal issues are to be resolved by timely
20   pretrial motions.     The parties are reminded that motions in
21   limine are procedural devices designed to address the
22   admissibility of evidence and are cautioned that the court will
23   look with disfavor upon substantive motions presented at the
24   final pretrial conference or at trial in the guise of motions in
25   limine.   The parties are further cautioned that if any legal
26   issue which should have been tendered to the court by proper
27   pretrial motion requires resolution by the court after the
28   established law and motion cut-off date, substantial sanctions
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 1   may be assessed for the failure to file the appropriate pretrial
 2   motion.
 3

 4                         MEET AND CONFER REQUIREMENT
 5        In any case where the parties are represented by counsel,
 6   counsel contemplating the filing of any motion, except (1) those
 7   in connection with discovery motions (which are governed by Local
 8   Rule 251(b)); (2) applications for temporary restraining orders
 9   or preliminary injunctions; or (3) motions made in prisoner
10   actions (which are governed by Local Rule 230(l)), shall first
11   contact opposing counsel to discuss thoroughly, preferably in
12   person, the substance of the contemplated motion and any
13   potential resolution.
14        If the proposed motion must be filed within a specified
15   period of time under the Federal Rules of Civil Procedure (e.g.,
16   a motion to dismiss pursuant to F.R.Cv.P. 12(b), or a new trial
17   motion pursuant to F.R.Cv.P. 59(a)), then this conference shall
18   take place at least five (5) days prior to the last day for
19   filing the motion; otherwise, the conference shall take place at
20   least ten (10) days prior to the filing of the motion.
21        If the parties are unable to reach a resolution which
22   eliminates the necessity for a hearing, counsel for the moving
23   party shall include in the notice of motion the following
24   statement:
25

26        "This motion is made following the conference of counsel
27        pursuant to the Court's standing order which took place on
28        [date of conference]."
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 1        The purpose of the meet and confer process is to: (1)
 2   determine whether the respondent agrees that the motion has merit
 3   in whole or in part; (2) discuss whether issues can be resolved
 4   without the necessity of briefing; (3) narrow the issues for
 5   review by the Court; and (4) explore the possibility of
 6   settlement before the parties incur the expense of briefing a
 7   motion.
 8        Failure to comply with the meet and confer requirement will
 9   result in the dismissal, without prejudice, of the offending
10   party's motion.
11        Unless prior permission has been granted, memoranda of law
12   in support of and in opposition to motions under F.R.Cv.P. 56 and
13   65 and any post−judgment or post−trial motions are limited to
14   twenty-five (25) pages, and reply memoranda are limited to ten
15   (10) pages. Memoranda of law in support of and in opposition to
16   all other motions are limited to fifteen (15) pages, and reply
17   memoranda are limited to five (5) pages. The parties are also
18   cautioned against filing multiple briefs to circumvent this rule.
19        A violation of this Order will result in monetary sanctions
20   being imposed against counsel in the amount of $50.00 per page
21   and the Court will not consider any arguments made past the page
22   limit.
23        Documentary evidence submitted in support of or in
24   opposition to a motion must be separately bound or placed in a
25   binder, and exhibits must be separated with labeled tabs that
26   extend beyond the edge of the page. An Index of exhibits must
27   also be included.
28
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 1        At least 28 days before the dispositive motions filing
 2   deadline, the parties must meet and confer to determine whether
 3   they intend to file cross motions for summary judgment.             If the
 4   parties do intend to file cross motions, the plaintiff must file
 5   the opening brief for summary judgment at least 14 days before
 6   the dispositive motions filing deadline.        The plaintiff’s
 7   concurrently-filed notice of motion shall indicate the parties’
 8   intention to file cross motions and shall notice a hearing date
 9   at least 42 days from the date of filing.        The briefing schedule
10   will be as follows.     Only four briefs shall be filed:
11

12        (1) Plaintiff’s opening brief (25 pages maximum), along with
13        any other documents required or permitted under Local Rule
14        260, shall be filed at least 14 days before the dispositive
15        motions filing deadline;
16        (2) Defendant’s opposition and cross motion for summary
17        judgment (35 pages maximum) shall be filed at least 28 days
18        before the hearing;
19        (3) Plaintiff’s reply and opposition (20 pages maximum)
20        shall be filed at least 14 days before the hearing;
21        (4) Defendant’s reply (10 pages maximum) shall be filed at
22        least 7 days before the hearing.
23

24        These are the only four briefs that may be filed, even if
25   the parties move for summary judgment on more than one complaint
26   (e.g., motions on a complaint and a counterclaim).          The parties
27   must obtain permission from the Court to exceed the stated page
28   limitations.    The parties are reminded that they may not file a
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 1   reply to a Response of the Statement of Undisputed Facts.
 2   Parties are advised to carefully read Local Rule 260, which
 3   permits an opposing party to file only (1) a Statement of
 4   Disputed Facts and (2) a Response to the Statement of Undisputed
 5   Facts (with the moving party’s Statement of Undisputed Facts
 6   reproduced and then admitted or denied, with citations).            If the
 7   parties do not comply with this procedure and schedule for filing
 8   cross motions for summary judgment, but nonetheless file cross
 9   motions, the Court will deny both motions without prejudice and
10   may impose sanctions.
11

12                                   DISCOVERY
13        All discovery shall be completed by 9/25/2023.          In this
14   context, "completed" means that all discovery shall have been
15   conducted so that all depositions have been taken and any
16   disputes relative to discovery shall have been resolved by
17   appropriate order if necessary and, where discovery has been
18   ordered, the order has been complied with.
19

20                       DISCLOSURE OF EXPERT WITNESSES
21        The parties shall make expert witness disclosures under
22   F.R.Cv.P. 26(a)(2) by 6/27/2023.          Supplemental disclosure and
23   disclosure of any rebuttal experts under F.R.Cv.P. 26(a)(2)(c)
24   shall be made by 7/27/2023.
25        Failure of a party to comply with the disclosure schedule as
26   set forth above in all likelihood will preclude that party from
27   calling the expert witness at the time of trial absent a showing
28   that the necessity for the witness could not have been reasonably
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 1   anticipated at the time the disclosures were ordered and that the
 2   failure to make timely disclosure did not prejudice any other
 3   party.   See F.R.Cv.P. 37(c).
 4         All experts designated are to be fully prepared at the time
 5   of designation to render an informed opinion, and give their
 6   reasons therefore, so that they will be able to give full and
 7   complete testimony at any deposition taken by the opposing
 8   parties.   Experts will not be permitted to testify at the trial
 9   as to any information gathered or evaluated, or opinion formed,
10   after deposition taken subsequent to designation.
11

12                      JOINT MID-LITIGATION STATEMENTS
13         Not later than fourteen (14) days prior to the close of
14   discovery, the parties shall file with the court a brief joint
15   statement summarizing all law and motion practice heard by the
16   court as of the date of the filing of the statement, whether the
17   court has disposed of the motion at the time the statement is
18   filed and served, and the likelihood that any further motions
19   will be noticed prior to the close of law and motion.          The filing
20   of this statement shall not relieve the parties or counsel of
21   their obligation to timely notice all appropriate motions as set
22   forth above.
23

24                          FINAL PRETRIAL CONFERENCE
25         The final pretrial conference is set for 3/1/2024 at 10:00
26   AM.   In each instance an attorney who will try the case for a
27   given party shall attend the final pretrial conference on behalf
28   of that party; provided, however, that if by reason of illness or
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 1   other unavoidable circumstance the trial attorney is unable to
 2   attend, the attorney who attends in place of the trial attorney
 3   shall have equal familiarity with the case and equal
 4   authorization to make commitments on behalf of the client.          All
 5   pro se parties must attend the pretrial conference.
 6        Counsel for all parties and all pro se parties are to be
 7   fully prepared for trial at the time of the pretrial conference,
 8   with no matters remaining to be accomplished except production of
 9   witnesses for oral testimony.      The parties shall file with the
10   court, no later than seven days prior to the final pretrial
11   conference, a joint pretrial statement.
12        Also, at the time of filing the Joint Pretrial Statement,
13   counsel are requested to e-mail the Joint Pretrial Statement and
14   any attachments in Word format to Judge Mendez' assistant, Jane
15   Klingelhoets at: jklingelhoets@caed.uscourts.gov.
16        Where the parties are unable to agree as to what legal or
17   factual issues are properly before the court for trial, they
18   should nevertheless list all issues asserted by any of the
19   parties and specifically identifying the disputes concerning such
20   issues.   The provisions of Local Rule 281 shall, however, apply
21   with respect to the matters to be included in the joint pretrial
22   statement.   Failure to comply with Local Rule 281, as modified
23   herein, may be grounds for sanctions.
24        The parties are reminded that pursuant to Local Rule
25   281(b)(10) and (11) they are required to list in the final
26   pretrial statement all witnesses and exhibits they propose to
27   offer at trial, no matter for what purpose.         These lists shall
28   not be contained in the body of the final pretrial statement
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 1   itself but shall be attached as separate documents so that the
 2   court may attach them as an addendum to the final pretrial order.
 3   The final pretrial order will contain a stringent standard for
 4   the offering at trial of witnesses and exhibits not listed in the
 5   final pretrial order, and the parties are cautioned that the
 6   standard will be strictly applied.        On the other hand, the
 7   listing of exhibits or witnesses that a party does not intend to
 8   offer will be viewed as an abuse of the court's processes.
 9          The parties are also reminded that pursuant to F.R.Cv.P. 16,
10   it will be their duty at the final pretrial conference to aid the
11   court in: (a) formulation and simplification of issues and the
12   elimination of frivolous claims or defenses; (b) settling of
13   facts which should properly be admitted; and (c) the avoidance of
14   unnecessary proof and cumulative evidence.         Counsel must
15   cooperatively prepare the joint pretrial statement and
16   participate in good faith at the final pretrial conference with
17   these aims in mind.     A failure to do so may result in the
18   imposition of sanctions which may include monetary sanctions,
19   orders precluding proof, elimination of claims or defenses, or
20   such other sanctions as the court deems appropriate.
21

22                                 TRIAL SETTING
23          Jury trial in this matter is set for 4/15/2024 at 9:00 AM.
24   The parties estimate an approximate ten to fifteen (10-15) day
25   trial.
26   ////
27   ////
28   ////
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 1                             SETTLEMENT CONFERENCE
 2         No Settlement Conference is currently scheduled.          If the
 3   parties wish to have a settlement conference, one will be
 4   scheduled at the final pretrial conference or at an earlier time
 5   upon request of the parties.
 6

 7                  OBJECTIONS TO PRETRIAL SCHEDULING ORDER
 8         This Status Order will become final without further Order of
 9   Court unless objection is lodged within seven (7) days of the
10   date of the filing of this Order.
11

12   IT IS SO ORDERED.
13

14   Dated:   May 16, 2022             /s/ John A. Mendez
                                       THE HONORABLE JOHN A. MENDEZ
15
                                       UNITED STATES DISTRICT COURT JUDGE
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